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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JONATHAN MoNsARRAT, §
. . ) cIVIL ACTION No.
Plam“ff’ ) 1:17-cv-10356-PBS
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BRIAN ZAIGER ) scHEDULlNG 0RDER
’ )
Defendant. §

 

NOW COME Defendant/Plaintiff-in-Counterclaim Brian Zaiger and PlaintiffYDefendant-
in-Counterclaim Jonathan Monsarrat, by and through undersigned counsel, and, pursuant to the
Court’s Order of December 21, 2017 (Docket No. 79), hereby file their proposed scheduling order,
attached hereto.

Pursuant to the schedule set at the Scheduling Conference (Docket No. 39), the current
deadlines are:

0 Discovery Closes: January 12, 2018

¢ Motions for Summary Judgment: February 12, 2018

¢ Oppositions Due: ` Fehruary 26, 2018

¢ Summary Judgment Hearing: March 22, 2018, 2:30 p.m.

Based on outstanding discovery and deposition scheduling, the parties recommend setting
a deadline to amend the pleadings and extending the schedule by ninety days, to wit:

0 Amendment : January 18, 2018 [Plaintiff's position] or
March 13, 2018 [Defendant’s position]

¢ Discovery Closes: April 12, 2018

0 Motions for Summary Judgment: May 14, 2018

¢ Oppositions Due: May 28, 2018

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